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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,
Plaintiff,
Vs. Case No.: 21-mj-00549-SH
ORDER OF TEMPORARY
Laura Kay Sawyer , DETENTION PENDING HEARING
PURSUANT TO BAIL REFORM
ACT
Defendant(s).

Upon motion of the United States of America, it is ORDERED that a detention

hearing/preliminary hearing is:

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At: AOD po.
Before: Jodi F. Jayne, U.S. Magistrate Judge

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The detention hearing will be held imagistrate-eourtroem++-onthe3“ floor of the United~

States-Courthouse, 333 West Fourth Street, Tulsa, OK>74103. Pending this hearing, Defendant shall
be held in custody by the United States Marshal. The United States Marshal shall produce Defendant

at the above-described hearing.

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Date: 8/9/2021

Jodi F. (ane, U.S. Magistrate Judge

Temporary Order of Detention Pending Detention Hearing (AO-470 Modified 6/2020)
